
580 S.E.2d 691 (2003)
William Scott GILBERT and wife, Angela R. Gilbert,
v.
NORTH CAROLINA FARM BUREAU MUTUAL INSURANCE COMPANIES.
No. 59A03.
Supreme Court of North Carolina.
June 13, 2003.
*692 Block, Crouch, Keeter &amp; Huffman, L.L.P., by Auley M. Crouch, III, and Christopher K. Behm, Wilmington, for plaintiff-appellants.
Cox &amp; Tillery, P.A., by J. Thomas Cox, Jr., Wilmington, for defendant-appellee.
PER CURIAM.
AFFIRMED.
